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 5
     Attorney(s) for Digital Verification Systems, LLC
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 7
                     IN THE UNITED STATES DISTRICT COURT
 8                FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
     DIGITAL VERIFICATION            §
10   SYSTEMS, LLC,                   §
                                     §
11
          Plaintiff,                 §             Case No.
12                                   §
     vs.                             §             PATENT CASE
13
                                     §
14   FOXIT SOFTWARE                  §             JURY TRAIL DEMANDED
     INCORPORATED,                   §
15
                                     §
16        Defendant.                 §
     ________________________________§
17

18
                                        COMPLAINT
19
           Plaintiff Digital Verification Systems, LLC (“Plaintiff” or “DVS”) files this
20
     Complaint against Foxit Software Incorporated (“Defendant” or “Foxit”) for
21
     infringement of United States Patent No. 9,054,860 (hereinafter “the ‘860 Patent”).
22
                              PARTIES AND JURISDICTION
23
           1.     This is an action for patent infringement under Title 35 of the United
24
     States Code. Plaintiff is seeking injunctive relief as well as damages.
25
           2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
26
     (Federal Question) and 1338(a) (Patents) because this is a civil action for patent
27
     infringement arising under the United States patent statutes.
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 1          3.     Plaintiff is a Texas limited liability company with an address of 1 East
 2   Broward Boulevard, Suite 700, Fort Lauderdale, FL 33301.
 3          4.     On information and belief, Defendant is a California corporation with its
 4   principal office located at 41841 Albrae St., Fremont, CA 94538. On information and
 5   belief, Defendant may be served through its registered agent, Yuqian Xiong, at the
 6   same address.
 7          5.     On information and belief, this Court has personal jurisdiction over
 8   Defendant because Defendant has committed, and continues to commit, acts of
 9   infringement in this District, has conducted business in this District, and/or has
10   engaged in continuous and systematic activities in this District.
11          6.     On information and belief, Defendant’s instrumentalities that are alleged
12   herein to infringe were and continue to be used, imported, offered for sale, and/or sold
13   in this District.
14                                           VENUE
15          7.     On information and belief, venue is proper in this District under 28
16   U.S.C. § 1400(b) because Defendant is a resident of this District. Alternatively, acts
17   of infringement are occurring in this District and Defendant has a regular and
18   established place of business in this District.
19                                          COUNT I
20         (INFRINGEMENT OF UNITED STATES PATENT NO. 9,054,860)
21          8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.
22          9.     This cause of action arises under the patent laws of the United States
23   and, in particular, under 35 U.S.C. §§ 271, et seq.
24          10.    Plaintiff is the owner by assignment of the ‘860 Patent with sole rights
25   to enforce the ‘860 Patent and sue infringers.
26          11.    A copy of the ‘860 Patent, titled “Digital Verified Identification System
27   and Method,” is attached hereto as Exhibit A.
28          12.    The ‘860 Patent is valid, enforceable, and was duly issued in full
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 1   compliance with Title 35 of the United States Code.
 2         13.    Upon information and belief, Defendant has infringed and continues to
 3   infringe one or more claims, including at least Claim 1, of the ‘860 Patent by making,
 4   using (at least by having its employees, or someone under Defendant's control, test
 5   the accused Product), importing, selling, and/or offering for sale associated hardware
 6   and/or software for digital signature services (e.g., Foxit Sign service), and any
 7   similar products and/or services (“Product”) covered by at least Claim 1 of the ‘860
 8   Patent. Defendant has infringed and continues to infringe the ‘860 patent either
 9   directly or through acts of contributory infringement or inducement in violation of 35
10   U.S.C. § 271.
11         14.    The Product provides a system for e-signatures. The Product provides
12   for digitally verifying the identification of a sender. Certain aspects of this element
13   are illustrated in the screenshot(s) below and/or in those provided in connection with
14   other allegations herein.
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           15.    The Product includes at least one digital identification module structured
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     to be associated with at least one entity. For example, the Product provides a module
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     (e.g., e-signature creation module) to be associated with at least one entity (i.e., a user
17
     who needs to use a digital signature). Certain aspects of this element are illustrated
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     in the screenshot(s) below and/or in those provided in connection with other
19
     allegations herein.
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14         16.    The Product includes a module generating assembly structured to receive
15   at least one verification data element corresponding to the at least one (e.g., a user has
16   a unique login ID and password for accessing and verifying the account for e-signing
17   documents) and create said at least one digital identification module (e.g., creating an
18   e-signature of a user).     Certain aspects of this element are illustrated in the
19   screenshot(s) below and/or in those provided in connection with other allegations
20   herein.
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17         17.    The at least one digital identification module is disposable within at least
18   one electronic file. For example, the user can store the e-signature within a document
19   or including PDF, WORD DOC, IMAGES, etc. Certain aspects of this element are
20   illustrated in the screenshot(s) below and/or in those provided in connection with
21   other allegations herein.
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15         18.    The at least one digital identification module includes at least one
16   primary component structured (e.g., an e-signature of a user is associated with
17   information including username, etc.) to at least partially associate the digital
18   identification module with the at least one entity (e.g., an e-signature is associated
19   with a user, who has to sign digitally). Certain aspects of this element are illustrated
20   in the screenshot(s) below and/or in those provided in connection with other
21   allegations herein.
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           19.   The at least one digital identification module is cooperatively structured
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     to be embedded within only a single electronic file (e.g., an e-signature is stored
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     within a document- including PDF, WORD DOC, IMAGES, etc.). Certain aspects of
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     this element are illustrated in the screenshot(s) below and/or in those provided in
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     connection with other allegations herein.
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           20.    Defendant’s actions complained of herein will continue unless
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     Defendant is enjoined by this court.
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           21.    Defendant’s actions complained of herein are causing irreparable harm
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     and monetary damage to Plaintiff and will continue to do so unless and until
20
     Defendant is enjoined and restrained by this Court.
21
           22.    Plaintiff is in compliance with 35 U.S.C. § 287.
22
                                         JURY DEMAND
23
           23.    Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff
24
     respectfully requests a trial by jury on all issues so triable.
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 1                                   PRAYER FOR RELIEF
 2         WHEREFORE, Plaintiff asks the Court to:
 3         (a)    Enter judgment for Plaintiff on this Complaint on all causes of action
 4   asserted herein;
 5         (b)    Enter an Order enjoining Defendant, its agents, officers, servants,
 6   employees, attorneys, and all persons in active concert or participation with Defendant
 7   who receive notice of the order from further infringement of United States Patent No.
 8   9,054,860 (or, in the alternative, awarding Plaintiff a running royalty from the time of
 9   judgment going forward);
10         (c)    Award Plaintiff damages resulting from Defendant’s infringement in
11   accordance with 35 U.S.C. § 284;
12         (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and
13         (e)    Award Plaintiff such further relief to which the Court finds Plaintiff
14   entitled under law or equity.
15

16   Dated: November 2, 2021                Respectfully submitted,
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                                            /s/ Stephen M. Lobbin
18                                          Attorney(s) for Plaintiff
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